                             1
                                                                     UNITED STATES BANKRUPTCY COURT
                             2
                                                                     NORTHERN DISTRICT OF CALIFORNIA
                             3                                            SAN FRANCISCO DIVISION
                             4
                                        In re:                                                Case Nos.      19-______ (___)
                             5                                                                               19-______ (___)
                                        PG&E CORPORATION,
                             6                                                                Chapter 11
                                                                        Debtor.
                             7
                                        Tax I.D. No. XX-XXXXXXX                               DECLARATION OF SHAI Y. WAISMAN IN
                             8                                                                SUPPORT OF DEBTORS’ APPLICATION
                                                                                              FOR APPOINTMENT OF PRIME CLERK
                             9                                                                LLC AS CLAIMS AND NOTICING AGENT
                                        In re:
                             10         PACIFIC GAS AND ELECTRIC
                                        COMPANY,                                              Date:
                             11                                                               Time:
                             12                                         Debtor.               Place:
Weil, Gotshal & Manges LLP

 New York, NY 10153-0119




                             13         Tax I.D. No. XX-XXXXXXX
      767 Fifth Avenue




                             14
                                                 I, Shai Y. Waisman, under penalty of perjury, declare as follows:
                             15

                             16                  1.     I am the Chief Executive Officer of Prime Clerk LLC (“Prime Clerk”), a chapter 11

                             17     administrative services firm whose headquarters are located at 830 3rd Avenue, 9th Floor, New York,

                             18     New York 10022. Except as otherwise noted, I have personal knowledge of the matters set forth herein,
                             19
                                    and if called and sworn as a witness, I could and would testify competently thereto.
                             20
                                                 2.     This Declaration is made in support of the above-captioned debtors’ (collectively,
                             21
                                    the “Debtors”) Application Pursuant to 28 U.S.C. § 156(c) for Appointment of Prime Clerk LLC as
                             22
                                    Claims and Noticing Agent, which was filed contemporaneously herewith (the “Application”). 1
                             23

                             24                  3.     Prime Clerk is comprised of leading industry professionals with significant experience in

                             25     both the legal and administrative aspects of large, complex chapter 11 cases. Prime Clerk’s professionals
                             26

                             27
                                    1
                             28     Capitalized terms used but not otherwise defined herein shall have the meanings set forth in the
                                    Application.
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                             1      have experience in noticing, claims administration, solicitation, balloting and facilitating other

                             2      administrative aspects of chapter 11 cases and experience in matters of this size and complexity. Prime
                             3
                                    Clerk’s professionals have acted as debtor’s counsel or official claims and noticing agent in a bankruptcy
                             4
                                    case in this District and in other districts nationwide. Prime Clerk’s active and former cases include:
                             5
                                    NewZoom, Inc., No. 15-31141 (HB) (Bankr. N.D. Cal.); Checkout Holding Corp., No. 18-12794 (KG)
                             6
                                    (Bankr. D. Del.); Fairway Energy, LP, No. 18-12684 (LSS) (Bankr. D. Del.); Dixie Electric, LLC, No.
                             7

                             8      18-12477 (KG) (Bankr. D. Del.); New MACH Gen GP, LLC, No. 18-11369 (MFW) (Bankr. D. Del.);

                             9      Gibson Brands, Inc., No. 18-11028 (CSS) (Bankr. D. Del.); Bertucci’s Holdings, Inc., No.18-10894
                             10     (MFW) (Bankr. D. Del.); EV Energy Partners, L.P., No. 18-10814 (CSS) (Bankr. D. Del.); Claire’s
                             11
                                    Stores, Inc., No. 18-10584 (MFW) (Bankr. D. Del.); The Bon-Ton Stores, Inc., No. 18-10248 (MFW)
                             12
                                    (Bankr. D. Del.); Orchard Acquisition Company, LLC, No. 17-12914 (KG) (Bankr. D. Del.); Rentech
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                             13
                                    WP U.S., Inc., No. 17-12958 (CSS) (Bankr. D. Del.); Appvion, Inc., No. 17-12082 (KJC) (Bankr. D.
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                             14

                             15     Del.); Global Brokerage, Inc., No. 17-13532 (MEW) (Bankr. S.D.N.Y.); Global A&T Electronics Ltd.,

                             16     No. 17-23931 (RDD) (Bankr. S.D.N.Y.); Pacific Drilling S.A., No. 17-13193 (MEW) (Bankr. S.D.N.Y.);

                             17     Walter Investment Management Corporation, No. 17-13446 (JLG) (Bankr. S.D.N.Y.); Castex Energy
                             18     Partners, L.P., No. 17-35835 (MI) (Bankr. S.D. Tex.); Toys “R” Us, Inc., No. 17-34665 (KLP) (Bankr.
                             19
                                    E.D. Va.); TK Holdings Inc., No. 17-11375 (BLS) (Bankr. D. Del.); Ultrapetrol (Bahamas) Limited, No.
                             20
                                    17-22168 (RDD) (Bankr. S.D.N.Y.); General Wireless Operations Inc. dba RadioShack, No. 17-10506
                             21
                                    (BLS) (Bankr. D. Del.); Channel Technologies Group, LLC, No. 16-11912 (DS) (Bankr. C.D. Cal.).
                             22

                             23            4.      As agent and custodian of Court records pursuant to 28 U.S.C. § 156(c), Prime Clerk will

                             24     perform, at the request of the Office of the Clerk of the Bankruptcy Court (the “Clerk”), the services

                             25     specified in the Application and the Engagement Agreement, and, at the Debtors’ request, any related
                             26
                                    administrative, technical and support services as specified in the Application and the Engagement
                             27

                             28

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                             1      Agreement. In performing such services, Prime Clerk will charge the Debtors the rates set forth in the

                             2      Engagement Agreement, which is attached as Exhibit B to the Application.
                             3
                                    5. Prime Clerk represents, among other things, the following:
                             4
                                                   (a)     Prime Clerk is not a creditor of the Debtors;
                             5
                                                   (b)     Prime Clerk will not consider itself employed by the United States government
                             6                             and shall not seek any compensation from the United States government in its
                                                           capacity as the Claims and Noticing Agent in the above captioned chapter 11 cases
                             7                             (the “Chapter 11 Cases”);
                             8
                                                   (c)     By accepting employment in these Chapter 11 Cases, Prime Clerk waives any
                             9                             rights to receive compensation from the United States government in connection
                                                           with these Chapter 11 Cases;
                             10
                                                   (d)     In its capacity as the Claims and Noticing Agent in these Chapter 11 Cases, Prime
                             11                            Clerk will not be an agent of the United States and will not act on behalf of the
                                                           United States;
                             12
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                                                   (e)     Prime Clerk will not employ any past or present employees of the Debtors in
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                             13
                                                           connection with its work as the Claims and Noticing Agent in these Chapter 11
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                             14                            Cases;

                             15                    (f)     Prime Clerk is a “disinterested person” as that term is defined in section 101(14)
                                                           of the Bankruptcy Code with respect to the matters upon which it is to be
                             16                            engaged;
                             17                    (g)     In its capacity as Claims and Noticing Agent in these Chapter 11 Cases, Prime
                             18                            Clerk will not intentionally misrepresent any fact to any person;

                             19                    (h)     Prime Clerk shall be under the supervision and control of the Clerk’s office with
                                                           respect to the receipt and recordation of claims and claim transfers;
                             20
                                                   (i)     Prime Clerk will comply with all requests of the Clerk’s office and the guidelines
                             21                            promulgated by the Judicial Conference of the United States for the
                                                           implementation of 28 U.S.C. § 156(c); and
                             22
                                                   (j)     None of the services provided by Prime Clerk as Claims and Noticing Agent in
                             23
                                                           these Chapter 11 Cases shall be at the expense of the Clerk’s office.
                             24
                                           6.      Although the Debtors do not propose to retain Prime Clerk under section 327 of the
                             25
                                    Bankruptcy Code pursuant to the Application (such retention will be sought by separate application), I
                             26
                                    caused to be submitted for review by our conflicts system the names of all known potential parties-in-
                             27

                             28     interest (the “Potential Parties in Interest”) in these Chapter 11 Cases. The list of Potential Parties in

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                             1      Interest was provided by the Debtors and included, among other parties, the Debtors, non-Debtor

                             2      affiliates, current and former directors and officers of the Debtors, significant stockholders, secured
                             3
                                    creditors, lenders, the Debtors’ 50 largest unsecured creditors on a consolidated basis, the United States
                             4
                                    Trustee and any person employed in the office of the United States Trustee, and other parties. The results
                             5
                                    of the conflict check were compiled and reviewed by Prime Clerk professionals under my supervision.
                             6
                                    At this time, and as set forth in further detail herein, Prime Clerk is not aware of any connection that
                             7

                             8      would present a disqualifying conflict of interest. Should Prime Clerk discover any new relevant facts

                             9      or connections bearing on the matters described herein during the period of its retention, Prime Clerk
                             10     will use reasonable efforts to file promptly a supplemental declaration.
                             11
                                           7.      To the best of my knowledge, and based solely upon information provided to me by the
                             12
                                    Debtors, and except as provided herein, neither Prime Clerk, nor any of its professionals, has any
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                             13
                                    materially adverse connection to the Debtors, their creditors or other relevant parties. Prime Clerk may
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                             14

                             15     have relationships with certain of the Debtors’ creditors as vendors or in connection with cases in which

                             16     Prime Clerk serves or has served in a neutral capacity as claims and noticing agent and/or administrative

                             17     advisor for another chapter 11 debtor.
                             18            8.      On December 7, 2017, Prime Clerk received an investment from an investment vehicle
                             19
                                    formed by Carlyle Strategic Partners IV, L.P. (“CSP IV”), an investment fund managed by Carlyle
                             20
                                    Investment Management L.L.C., each affiliates of The Carlyle Group (together with its subsidiaries,
                             21
                                    “Carlyle”). As a result of the transaction, Prime Clerk and CSP IV are affiliates under applicable law.
                             22

                             23     The following disclosure is made out of an abundance of caution in an effort to comply with the

                             24     Bankruptcy Code and Bankruptcy Rules. However, CSP IV is not on the Potential Parties in Interest list

                             25     in these cases as of the date hereof.
                             26
                                           9.      Carlyle is a global alternative asset manager with over 1,625 professionals operating in
                             27
                                    31 offices over six continents that manages over $200 billion in over 330 investment vehicles spanning
                             28

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                             1      Corporate Private Equity, Real Assets, Global Credit, and Investment Solutions. Carlyle’s Corporate

                             2      Private Equity funds, Real Assets funds, Global Credit funds, and Investment Solutions funds
                             3
                                    (collectively, the “Funds”) are managed independently from each other. CSP IV, Carlyle Strategic
                             4
                                    Partners II, L.P. and Carlyle Strategic Partners III, L.P. (collectively, “CSP”) are Global Credit funds
                             5
                                    that each are owned by a diverse group of limited partners, which exert no control over CSP’s investment
                             6
                                    decisions, and a general partner affiliated with Carlyle. All CSP investment professionals involved with
                             7

                             8      Prime Clerk are dedicated solely to CSP and are not involved in the Corporate Private Equity, Real

                             9      Assets, or Investment Solutions businesses, although, from time to time, one or more CSP investment
                             10     professionals may sit on the investment committee of another Global Credit fund.
                             11
                                           10.     Designees of CSP IV are members of the Board of Managers of Prime Clerk’s ultimate
                             12
                                    parent company (“Parent Board Designees”), Prime Clerk Holdings LLC (“HoldCo”). HoldCo wholly
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                             13
                                    owns Prime Clerk MidCo Holding LLC (“MidCo”), which wholly owns Prime Clerk. No Carlyle
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                             14

                             15     designees are Board members of MidCo or Prime Clerk. Further, Prime Clerk and CSP IV have the

                             16     following restrictions in place (collectively, the “Barrier”): (i) prior to the Debtors commencing these

                             17     cases, Prime Clerk did not share the names or any other information identifying the Debtors with the
                             18     Parent Board Designees; (ii) Prime Clerk has not and will not furnish any material nonpublic information
                             19
                                    about the Debtors to CSP, the Parent Board Designees or any Carlyle entity; (ii) no CSP personnel nor
                             20
                                    any other Carlyle personnel work on Prime Clerk client matters or have access to Prime Clerk client
                             21
                                    information, client files or client personnel; (iii) no CSP personnel nor any other Carlyle personnel work
                             22

                             23     in Prime Clerk’s offices; (iv) other than the Parent Board Designees, Prime Clerk operates independently

                             24     from Carlyle, including that it does not share any employees, officers or other management with Carlyle,

                             25     has separate offices in separate buildings, and has separate IT systems; and (v) no Prime Clerk executive
                             26
                                    or employee is a director, officer or employee of Carlyle (or vice versa other than the Parent Board
                             27
                                    Designees).
                             28

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                             1             11.     Prime Clerk has searched the names of the Debtors and the names of the potential parties

                             2      in interest provided by the Debtors against: (i) the names of the CSP funds and their respective
                             3
                                    investments; (ii) the names of Carlyle’s other Global Credit funds; and (iii) the names of the Corporate
                             4
                                    Private Equity funds. Prime Clerk also has searched the names of the Debtors against the publicly-
                             5
                                    known investments of the Corporate Private Equity funds as set forth in the list most recently provided
                             6
                                    to Prime Clerk by Carlyle’s internal compliance department (“Carlyle Compliance”). CSP operates
                             7

                             8      autonomously from and makes independent investment decisions from the other Global Credit funds,

                             9      the Corporate Private Equity funds, the Real Assets funds, and the Investment Solutions funds. Further,
                             10     Carlyle maintains an internal information barrier between its Global Credit funds and the rest of the
                             11
                                    Carlyle funds. Accordingly, the conflicts search does not include the names of the Real Assets funds,
                             12
                                    the Investment Solutions funds or any of their or the other Global Credit funds’ investments, nor does it
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                             13
                                    include any portfolio companies of any of the Funds (other than those of CSP and the Corporate Private
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                             14

                             15     Equity funds as described above). Based solely on the foregoing search, Prime Clerk has determined, to

                             16     the best of its knowledge, that there are no material connections. To the extent Prime Clerk learns of

                             17     any material connections between the funds or investments included in the above described conflicts
                             18     search and the Debtors, Prime Clerk will promptly file a supplemental disclosure.
                             19
                                           12.     After the Petition Date, Prime Clerk will promptly request Carlyle Compliance to search
                             20
                                    the names of the Debtors against CSP’s respective investments. To the extent Prime Clerk learns of any
                             21
                                    material connections involving the Debtors and such investments after Carlyle Compliance has searched
                             22

                             23     such names, Prime Clerk will promptly file a supplemental disclosure.

                             24            13.     Other than as specifically noted herein as to CSP, one or more of the other Funds may, in

                             25     the ordinary course and from time to time, hold, control and/or manage loans to, or investments in, the
                             26
                                    Debtors and/or potential parties in interest and/or may trade debt and/or equity securities in the Debtors
                             27
                                    and/or potential parties in interest. In addition, other than as specifically noted herein as to CSP, the
                             28

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                             1      Funds also may have had, currently have, or may in the future have business relationships or other

                             2      connections with the Debtors or other potential parties in interest. Other than as specifically noted herein
                             3
                                    as to CSP, Prime Clerk has not undertaken to determine the existence, nature and/or full scope of any
                             4
                                    business relationships or other connections that any Carlyle entity may have with the Debtors and their
                             5
                                    affiliates or the potential parties in interest in these Chapter 11 Cases.
                             6
                                           14.     In addition, Prime Clerk may have had, may currently have or may in the future have
                             7

                             8      business relationships unrelated to the Debtors with one or more Carlyle entities including, among others,

                             9      portfolio companies of Carlyle.
                             10            15.     Based on, among other things, the business separation between Prime Clerk and Carlyle,
                             11
                                    the Barrier, and in light of the administrative nature of the services proposed to be performed by Prime
                             12
                                    Clerk for the Debtors, Prime Clerk believes that it does not hold or represent an interest adverse to the
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                             13
                                    Debtors.
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                             14

                             15            16.     Certain of Prime Clerk’s professionals were partners of or formerly employed by firms

                             16     that are providing or may provide professional services to parties in interest in these cases. Such firms

                             17     include Kirkland & Ellis LLP; Weil, Gotshal & Manges LLP (“Weil”); O’Melveny & Myers LLP;
                             18     Mayer Brown LLP; Fried, Frank, Harris, Shriver & Jacobson LLP; Bracewell LLP; Proskauer Rose LLP;
                             19
                                    Curtis, Mallet-Prevost, Colt & Mosle LLP; Baker & Hostetler LLP; Togut, Segal & Segal LLP; Hughes
                             20
                                    Hubbard & Reed LLP; Gibson, Dunn & Crutcher LLP; Proskauer Rose LLP; McKinsey & Company;
                             21
                                    Centerview Partners LLC; KPMG LLP; Epiq Bankruptcy Solutions, LLC; Donlin, Recano & Company,
                             22

                             23     Inc. and Kurtzman Carson Consultants LLC. Except as may be disclosed herein, these professionals did

                             24     not work on any matters involving the Debtors while employed by their previous firms. Moreover, these

                             25     professionals were not employed by their previous firms when these Chapter 11 Cases were filed.
                             26
                                           17.     I was previously a partner at Weil, counsel to the Debtors in these Chapter 11 Cases.
                             27
                                    Shira D. Weiner, General Counsel of Prime Clerk, was formerly an associate at Weil. Christina Pullo,
                             28

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                             1      Senior Director of Solicitation and Public Securities at Prime Clerk, was previously an associate at Weil.

                             2      Certain other employees of Prime Clerk were also formerly associates at Weil. I left Weil in March
                             3
                                    2011, Ms. Weiner left Weil in February 2008, and Ms. Pullo left Weil in May 2009. Neither Ms. Weiner,
                             4
                                    Ms. Pullo nor I, nor any other former Weil associates now working at Prime Clerk worked on any matters
                             5
                                    involving the Debtors during their time at Weil.
                             6
                                            18.     Stephen Karotkin is a partner at Weil. Mr. Karotkin’s son, Joshua Karotkin, a Director
                             7

                             8      at Prime Clerk, has been an employee of Prime Clerk since April 2014. Joshua Karotkin holds no equity

                             9      interest in Prime Clerk and receives no compensation based upon Prime Clerk’s revenue. Furthermore,
                             10     Joshua Karotkin has been screened from and will perform no work on this matter.
                             11
                                            19.     Prime Clerk has and will continue to represent clients in matters unrelated to these
                             12
                                    Chapter 11 Cases. In addition, Prime Clerk and its personnel have and will continue to have relationships
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                             13
                                    personally or in the ordinary course of business with certain vendors, professionals, financial institutions,
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                             14

                             15     and other parties in interest that may be involved in the Debtors’ Chapter 11 Cases. Prime Clerk may

                             16     also provide professional services to entities or persons that may be creditors or parties in interest in these

                             17     Chapter 11 Cases, which services do not directly relate to, or have any direct connection with, these
                             18     Chapter 11 Cases or the Debtors.
                             19
                                            20.     Prime Clerk, as well as its personnel in their individual capacities regularly utilize the
                             20
                                    services of law firms, investment banking and advisory firms, accounting firms and financial
                             21
                                    advisors. Such firms engaged by Prime Clerk or its personnel may appear in Chapter 11 Cases
                             22

                             23     representing the Debtors or parties in interest. All engagements where such firms represent Prime Clerk

                             24     or its personnel in their individual capacities are unrelated to these Chapter 11 Cases.

                             25             21.     From time to time, Prime Clerk partners or employees personally invest in mutual funds,
                             26
                                    retirement funds, private equity funds, venture capital funds, hedge funds and other types of investment
                             27
                                    funds (the “Investment Funds”), through which such individuals indirectly acquire a debt or equity
                             28

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                             1      security of many companies, one of which may be one of the Debtors or their affiliates, often without

                             2      Prime Clerk’s or its personnel’s knowledge. Each Prime Clerk partner or employee generally owns
                             3
                                    substantially less than one percent of such Investment Fund, does not manage or otherwise control such
                             4
                                    Investment Fund and has no influence over the Investment Fund’s decision to buy, sell or vote any
                             5
                                    particular security. Each Investment Fund is generally operated as a blind pool, meaning that when the
                             6
                                    Prime Clerk partners or employees make an investment in the particular Investment Fund, he, she or
                             7

                             8      they do not know what securities the blind pool Investment Fund will purchase or sell, and have no

                             9      control over such purchases or sales.
                             10            22.     From time to time, Prime Clerk partners or employees may personally directly acquire a
                             11
                                    debt or equity security of a company which may be one of the Debtors or their affiliates. Prime Clerk
                             12
                                    has a policy prohibiting its partners and employees from using confidential information that may come
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                             13
                                    to their attention in the course of their work. In this regard, subject to paragraph 21, all Prime Clerk
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                             14

                             15     partners and employees are barred from trading in securities with respect to matters in which Prime Clerk

                             16     is retained. Subject to paragraph 21, upon information and belief, and upon reasonable inquiry, Prime

                             17     Clerk does not believe that any of its partners or employees own any debt or equity securities of either
                             18     company that is a Debtor or of any of their affiliates.
                             19
                                           23.     Based on the foregoing, I believe that Prime Clerk is a “disinterested person” as that term
                             20
                                    is defined in section 101(14) of the Bankruptcy Code with respect to the matters upon which it is to be
                             21
                                    engaged. Moreover, to the best of my knowledge and belief, neither Prime Clerk nor any of its partners
                             22

                             23     or employees hold or represent any interest materially adverse to the Debtors’ estates with respect to any

                             24     matter upon which Prime Clerk is to be engaged.

                             25

                             26

                             27

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